




NO. 07-05-0393-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



DECEMBER 21, 2006

______________________________



BARBARA STONE, 	



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 140
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-407,187; HON. JIM BOB DARNELL, PRESIDING

_______________________________



DISSENT

_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

I respectfully dissent from the majority’s opinion to the extent it holds that appellant’s consent was voluntary and sufficiently attenuated from the illegal entry and detention. &nbsp;Simply put, there is no material distinction between the facts here and those in 
Grimaldo v. State
, No. 07-04-0245-CR, 2006 Tex. App. LEXIS 1824 (Tex. App.–Amarillo March 8, 2006, no pet. h.); thus, the decision in 
Grimaldo
 controls the outcome at bar. &nbsp;&nbsp;

The decision to enter without a valid warrant was made once it was determined that the substance obtained from the house was contraband. &nbsp;That is, the officers “decided to go ahead and make entry into the apartment, secure the persons inside, either until [they] could obtain a search warrant or [they] could obtain consent to search from whoever was in charge of the residence.” &nbsp;So, the purpose of the officers was clear when they undertook to unlawfully enter the home with guns drawn. &nbsp;They were intent on conducting a search, one way or the other.

Additionally, it is difficult to deny that police observation of the contraband arose from the unlawful entry into and sweep of the location. &nbsp;Again, no warrant authorized the entry or a search, the contraband they sought was not within plain view, and mere minutes lapsed from the decision to undertake forced entry to the discovery of the cocaine. &nbsp;

Finally, while it may be that appellant was told of her right to refuse consent, one can only wonder if her response evinced a legitimate choice. &nbsp;By that time, the officers had already entered the home illegally with guns drawn, and seized all present without legal justification. &nbsp;Nothing of record suggests that the officers would have left the premises or momentarily released their detainees had consent been denied. &nbsp;The contrary would seem true given the general intent to search one way or another. &nbsp;Nor can I discount the undeniable affect on one’s ability to think clearly of the unlawful presence of armed police officers roaming throughout the home. &nbsp;

As previously stated, the circumstances here are materially indistinguishable from those in 
Grimaldo
. &nbsp;So, I conclude that appellant’s motion to suppress should have been granted.

Brian Quinn 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Publish. 


